Case 2:10-md-02179-CJB-DPC Document 4457-9 Filed 11/01/11 Page 1 of2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL No, 2179
“DEEPWATER HORIZON” IN THE GULF OF

MEXICO, ON APRIL 20, 2010 SECTION J

IN RE: THE COMPLAINT AND

PETITION OF TRITON ASSET JUDGE BARBIER

LEASING GMBH, ET AL. IN A
CAUSE OF EXONERATION FROM
OR LIMITATION OF LIABILITY

MAGISTRATE JUDGE SHUSHAN

This Document Relates To:

All cases and No.; 2-10-cv-2771 and No.
2:10-cv-04536-CJB-SS (United States v. BP
Exploration & Production Inc., et al.)

0OR SOR SOR VOD 460 600 9OR 8G GR UG Gn 0G 4G oon

AFFIDAVIT OF STACEY EARLEY

THE STATE OF TEXAS _ )

)
COUNTY OF HARRIS )

BEFORE ME, the undersigned authority, on this day personally appeared Stacey Earley,
who being duly sworn deposed on his oath as follows:

le My name is Stacey Earley. I am more than twenty-one years old, I have
never been convicted of a crime involving moral turpitude, and I am competent to
provide this affidavit. All facts in this affidavit are true, correct, and within my
personal knowledge.

2. I am the Director of Marketing Contracts & Services for Transocean. My
office at Transocean is located at 4 Greenway Plaza, Houston, Texas 77046.

x. As Director of Marketing Contracts & Services, | obtained knowledge of
the contracts and amendments thereto executed on behalf of Transocean entities
attached as appendices to Transocean’s Motion for Partial Summary Judgment,
and incorporated herein by reference, namely those for the:

i. Deepwater Horizon;
ii. Development Driller I;
iii. Discoverer Enterprise;
iv. an Angola Newbuild (Luanda);
v, Constellation [, and
vi. ajackup rig for Pharaonic Petroleum Company (Constellation I).

12397171.1
Case 2:10-md-02179-CJB-DPC Document 4457-9 Filed 11/01/11 Page 2 of 2

In addition, I obtained knowledge of the information contained within this
affidavit.

4, The negotiation and / or execution of these contracts is within the regular
course of Transocean’s business, and it is the regular practice of Transocean for
an employee or representative with knowledge of the negotiation and / or
execution of the contract to make or transmit information to be included in these
records, The records were made at or near that time or reasonably soon thereafter.

5; True and correct copies of these contracts are attached as appendices to
Transocean’s Motion for Partial Summary Judgment.

EXECUTED on this the o2/* day of October, 2011.

FURTHER, AFFIANT SAYETH NOT.

Alaey- Fark

Stacey Earley/ °

SWORN AND SUBSCRIBED TO BEFORE ME on this ne27— of October, 2011.

Veroncea Ue. (WMasbr

Notary Public in and for the
STATE OF TEXAS

SS SSS SE

on, VERONICA M. ALLISON ¢
ae Me Notary Public,
Fens State of Texas

“af, OF Comm, Exp. 08-03-12

LSA ARR SESE

i
Ox%,
gs

My,

xii!
ons
a

a
Be
.
svi

Aan

12397171.1
